              Case 3:22-cr-00426-JSC Document 5-1 Filed 11/10/22 Page 1 of 1




 1                         WRIT OF HABEAS CORPUS AD PROSEQUENDUM

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 3 TO:      MARK KOLC, United States Marshal for the Northern District of California and PAUL

 4          MIYAMOTO, San Francisco County Sheriff, and/or any of their authorized deputies:

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 6          Pursuant to the foregoing petition and order, you are directed to produce the body of DAVID

 7 DEPAPE, who is in the custody of the San Francisco County Sheriff’s Office at the San Francisco

 8 County Jail located at 425 7th Street, San Francisco, California 94103 before the Honorable Alex G. Tse,

 9 United States Magistrate Judge for the Northern District of California, located at the San Francisco

10 Federal Courthouse, located at 450 Golden Gate Avenue, Courtroom 10, San Francisco, California

11 94102 on November 15, 2022 at 10:30 am, or as soon thereafter as practicable, on the charges filed

12 against defendant in the above-entitled Court.

13

14

15 DATED: ______________________
           November 10, 2022                            CLERK, UNITED STATES DISTRICT COURT
                                                        NORTHERN DISTRICT OF CALIFORNIA
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17
                                                 By:    __________________________________
18                                                      DEPUTY CLERK

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     WRIT OF HABEAS CORPUS AD PROSEQUENDUM
     CASE NO. CR 22-426 CRB
